RENARD S. IARUSSI AND JOANNE C. IARUSSI; D. DARYL ATKINSON, AND MARY B. ATKINSON, Petitioners v. COMMISSIONER OF INTERNAL REVENUE, RespondentIarussi v. CommissionerDocket No. 12087-86United States Tax CourtT.C. Memo 1992-509; 1992 Tax Ct. Memo LEXIS 531; 64 T.C.M. (CCH) 652; September 3, 1992, Filed *531 Held: The period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partner's individual income tax return, as extended by any agreements relating thereto.  See Siben v. Commissioner, 930 F.2d 1034"&gt;930 F.2d 1034 (2d Cir. 1991), affg. T.C. Memo. 1990-435; Stahl v. Commissioner, 96 T.C. 798"&gt;96 T.C. 798 (1991). For Petitioners: Declan J. O'Donnell. For Respondent: Randall L. Preheim.  WHITAKERWHITAKERMEMORANDUM FINDINGS OF FACT AND OPINION WHITAKER, Judge: This matter is before the Court on petitioners' motion for summary judgment filed pursuant to Rule 121. 1*532  Respondent determined a deficiency in, and increased interest on, Renard S. and Joanne C. Iarussi's (petitioners Iarussi) Federal income tax for the taxable year, and in the amounts, set forth below: Increased InterestTax Year EndedDeficiencySec. 6621(c)December 31, 1980$ 7,9344Respondent determined deficiencies in, and additions to, D. Daryl and Mary B. Atkinson's (petitioners Atkinson) Federal income taxes for the taxable years, and in the amounts, set forth below: Addition to TaxTax Year EndedDeficiencySec. 6653(a)December 31, 1979$ 20,973$ 1,048.65December 31, 1980$ 18,789$ 939.45A notice of deficiency was mailed to petitioners Iarussi on January 28, 1986, and to petitioners Atkinson on January 30, 1986.  Petitioners Iarussi resided in Las Vegas, Nevada, and petitioners Atkinson resided in Salem, Oregon, at the time the petition herein was filed.  The issue for decision is whether the period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partnership's information return, or by the filing of the partner's individual income tax return, as extended by any agreements relating thereto. 2*533  FINDINGS OF FACT Petitioners Iarussi were validly subscribed members of General Investment Group (General Investment), a limited partnership, for the taxable year ending December 31, 1980.  Petitioners Atkinson were validly subscribed members of Camel Fuel &amp; Investment Co. (Camel Fuel), a limited partnership, for the taxable years ending December 31, 1979, and December 31, 1980.  On April 15, 1981, petitioners Iarussi filed their 1980 individual income tax return. On April 15, 1980, and on April 15, 1981, petitioners Atkinson filed their 1979 and 1980 individual income tax returns, respectively.  On October 15, 1981, General Investment filed its 1980 partnership information return. Camel Fuel timely filed its 1979 and 1980 partnership information returns.  On December 28, 1983, petitioners Iarussi executed a Form 872-A, thereby extending the time to assess individual income tax against petitioners Iarussi for the taxable year 1980.  On January 20, 1983, and on November 14, 1983, petitioners Atkinson executed Forms 872-A, thereby extending the time to assess individual income tax against petitioners Atkinson for the taxable years 1979 and 1980, respectively. Pursuant to Form 872-A, *534  the amount of income tax due for a taxable year may be assessed on or before the 90th day after: (1) Respondent receives a notice of termination from petitioners, (2) respondent mails a notice of termination to petitioners, or (3) respondent mails a notice of deficiency for the applicable period. Respondent did not receive a notice of termination from petitioners Iarussi or petitioners Atkinson, nor did respondent mail a notice of termination to petitioners Iarussi or petitioners Atkinson, for the taxable years at issue.  Consequently, as of January 28, 1986, the date a notice of deficiency was mailed to petitioners Iarussi, the period of limitations upon assessment had not expired with respect to petitioners Iarussi's taxable year 1980.  Similarly, as of January 30, 1986, the date a notice of deficiency was mailed to petitioners Atkinson, the period of limitations upon assessment had not expired with respect to petitioners Atkinson's taxable years 1979 and 1980.  Conversely, as of January 28, 1986, more than 3 years had elapsed since the filing of General Investment's 1980 partnership information return, and more than 3 years had elapsed since the filing of Camel Fuel's 1979 and*535  1980 partnership information returns. On April 13, 1992, petitioners filed a motion for summary judgment asserting that the period of limitations upon assessment had expired with respect to their distributive share of losses from General Investment and Camel Fuel prior to the issuance of the notices of deficiency. 3*536  OPINION The sole issue for decision is whether the period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partnership's information return, or by the filing of the partner's individual income tax return, as extended by any agreements relating thereto.  Petitioners contend that the period of limitations is controlled by the filing of the partnership's information return. Conversely, respondent contends that the period of limitations is controlled by the filing of the partner's individual income tax return. Respondent agrees that there is no genuine issue as to any material fact relating to the applicable period of limitations upon assessment, and that a decision on this issue may be rendered as a matter of law.  See Rule 121(b). Petitioners cite , revg. and remanding , as authority for the proposition that the period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partnership's information return. In ,*537  the Ninth Circuit held that the Commissioner may not adjust a taxpayer-shareholder's individual income tax return based upon an adjustment to a subchapter S corporation's information return when the period of limitations had run as to the subchapter S corporation's return. . We previously considered and rejected the Ninth Circuit's decision in Kelley in determining the period of limitations applicable to a partner's distributive share of partnership items.  In , we held that the filing of a partnership information return does not affect the period of limitations upon assessment applicable to the determination of a deficiency against individual partners of a partnership. Similarly, in , affg. , the Second Circuit held that the applicable period of limitations was controlled by the partners' individual income tax returns rather than by the partnership return.  See also , affg. on this issue .*538 We consider , and , to be dispositive of this issue; consequently, we hold that the period of limitations upon assessment applicable to a partners' distributive share of partnership items is controlled by the filing of the partner's individual income tax return, as extended by any agreements relating thereto. In accordance with the holding set forth above, petitioners' motion for summary judgment will be denied. An appropriate order will be issued.  Footnotes1. Unless otherwise indicated, all Rule references are to the Tax Court Rules of Practice and Procedure, and all section references are to the Internal Revenue Code of 1954 in effect for the years in issue.↩4. To be determined.↩2. The taxable years at issue antedate the enactment of secs. 221-6233 which provide that the tax treatment of partnership income, loss, deductions, and credits is to be determined at the partnership level in a unified partnership proceeding for partnership taxable years beginning after Sept. 3, 1982.↩3. On Apr. 14, 1992, petitioners filed an amended petition wherein it was represented that "the parties have settled all issues on the merits of the case in a proposed Stipulation, subject to a determination of jurisdiction as requested herein." Similarly, in the motion for summary judgment, petitioners represent that "no trial on the merits is expected because the parties have executed a Stipulation, subject to jurisdiction." In the notice of objection to motion for summary judgment, however, respondent asserts that neither a stipulation of settled issues nor a closing agreement has been executed by the parties.  Consequently, petitioners' motion for summary judgment is properly viewed as a motion for partial summary judgment. See Rule 121(c).↩